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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


   Civil Action No. 14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINE AZUELA RASCON,
   CAMILA GABRIELA PEREZ REYES,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   And those similarly situated,

   Plaintiffs,

   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., d/b/a Expert AuPair,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC., d/b/a Cultural Care Au Pair,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, d/b/a/ Aupair Foundation,
   AMERICAN INSTITUTE FOR FOREIGN STUDY, d/b/a Au Pair in America,
   AMERICAN CULTURAL EXCHANGE, LLC, d/b/a GoAuPair,
   AGENT AU PAIR,
   A.P.E.X. AMERICAN PROFESSIONAL EXCHANGE, LLC, d/b/a ProAuPair,
   20/20 CARE EXCHANGE, INC., d/b/a The International Au Pair Exchange,
   ASSOCIATES IN CULTURAL EXCHANGE, d/b/a GoAuPair, and
   GOAUPAIR OPERATIONS, LLC, d/b/a GoAuPair,

   Defendants.
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                               AMENDED FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

   pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

         PURSUANT to and in accordance with the Amended Order Granting Final

   Approval of Class and Collective Action Settlement (Doc. # 1234) entered by the

   Honorable Christine M. Arguello on August 1, 2019, incorporated herein by reference, it

   is

         ORDERED that the Court approves the class and collective action settlement. It

   is

         FURTHER ORDERED that the Court approves the Settlement Agreement. It is

         FURTHER ORDERED that Class Counsel will establish a Qualified settlement

   Fund (“QSF”). It is

         FURTHER ORDERED that the Defendants will pay their respective shares of the

   of settlement amount, which totals $65,500,000, into the QSF. It is

         FURTHER ORDERED that Class Counsel will receive attorneys’ fees of

   $22,925,000. It is

         FURTHER ORDERED that Class Counsel’s litigation expenses, as well as

   Expenses for administration of the settlement and sending of notice pursuant to 28

   U.S.C. § 1715 will be deducted from the QSF. It is




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          FURTHER ORDERED that $536 shall be taxed from the QSF in favor of the

   United States and payable into the Court to repay the filing and service costs the Court

   previously waived. It is

          FURTHER ORDERED that the remainder of the QSF will be distributed to Class

   Members, as detailed in the Plan of Allocation. It is

          FURTHER ORDERED that the Court retains continuing and exclusive jurisdiction

   over the parties and all matters relating to this matter, including the administration,

   interpretation, construction, effectuation, enforcement, and consummation of the

   settlement and this Order.

            DATED: August 1, 2019.

                                                     FOR THE COURT:
                                                     JEFFREY P. COLWELL, CLERK



                                                 By: s/    S. West
                                                           S. West, Deputy Clerk




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